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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-60271-CIV-SMITH/VALLE

  LANCE KEVIN ANDERSON, ET AL.,

          Plaintiffs,

  vs.

  J & L CABLE TV SERVICES, INC.,

          Defendant.
                                                      /

        ORDER AFFIRMING AND ADOPTING REPORT OF MAGISTRATE JUDGE

          This matter is before the Court on Magistrate Judge Valle’s Report and Recommendation

  to District Judge [DE 103], in which she recommends sanctioning Plaintiff Manesse Vilsaint for

  disregarding Court orders, failing to attend a properly noticed deposition, failing to attend court-

  ordered mediation, and failing to prosecute the case. Magistrate Judge Valle recommends that

  Vilsaint’s case be dismissed without prejudice and Vilsaint be directed to pay $3,000 towards

  Defendant’s attorney’s fees and costs in connection with the canceled deposition, mediation, and

  Motion for Sanctions. No objections have been filed by either side. Having reviewed, de novo,

  the Report and Recommendation to District Judge and the record, and given that there are no

  objections, it is

          ORDERED that:

          1)      The Report and Recommendation to District Judge [DE 103] of Magistrate Judge

  Valle is AFFIRMED and ADOPTED, and incorporated by reference into this Court’s Order; and

          2)      Defendant’s Motion for Sanctions Against Plaintiff Vilsaint and Renewal of Prior

  Request for Sanctions Pursuant to the Court’s Order Dated December 11, 2020 [DE 71] is

  GRANTED:
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                 a)     Plaintiff Vilsaint’s claims are DISMISSED without prejudice.

                 b)     Plaintiff Vilsaint shall pay Defendant $3,000.00 towards attorney’s fees and

  costs.

           DONE and ORDERED in Fort Lauderdale, Florida, this 28th day of July, 2021.




  cc:      All Counsel of Record
